      Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 1 of 7




                  IN THE UNITED STATES DISTRICT COURT
                   FOR THE WESTERN DISTRICT OF TEXAS
                             WACO DIVISION

ARENA IP, LLC,

           Plaintiff,

v.                                   Civil Action No. 6:23-cv-054-DAE

VERIZON COMMUNICATIONS, INC.,

           Defendant.                JURY TRIAL DEMANDED



VERIZON COMMUNICATIONS INC.’S RESPONSE TO PLAINTIFF’S MOTION FOR
         LEAVE TO CONDUCT EXPEDITED VENUE DISCOVERY
             Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 2 of 7




          Plaintiff Arena IP, LLC (“Arena”) misunderstands Defendant Verizon Communications

Inc.’s (“Verizon”) motion seeking dismissal for lack of proper venue (Dkt. 16). As explained in

its Motion to Dismiss, venue is not proper because Arena does not allege that Verizon committed

acts of infringement in this District as required under the law. 28 U.S.C. §1400(b); TC Heartland

LLC v. Kraft Foods Grp. Brands LLC, 137 S.Ct. 1514 (2017). Instead of addressing this threshold

venue question, in a re-purposed motion 1 Arena seeks leave to take venue discovery arguing that

it is necessary “and significant in determining whether this forum is convenient and whether venue

is proper as a result of the operations in this District.” Dkt. 21 at 5. This “good cause” basis may

be enough if Verizon were seeking dismissal or transfer based on whether it resides or has a regular

and established place of business in this District (as Akamai argued)—but that is not Verizon’s

argument. Arena’s failure to articulate a good cause basis for discovery tied to the facts of this case

and Verizon’s Motion to Dismiss (which did not raise the regular and established place of business

factor) is fatal to its motion. Additionally, Arena’s failure to timely respond to Verizon’s Motion

to Dismiss warrants denial of Arena’s motion to conduct venue discovery, a finding that Verizon’s

Motion to Dismiss is unopposed, and dismissal of this case.

I.        FACTUAL BACKGROUND

          On January 27, 2023, Arena sued Verizon, accusing Verizon of infringing U.S. Patent No.

8,320,820 (the “’820 Patent” or “Patent-in-Suit”). Dkt. 1. Arena’s Complaint acknowledges that


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        Arena’s Motion for Leave is essentially the same as its Motion for Leave to Conduct
Expedited Venue Discovery Prior to Responding to Defendant’s Motion to Dismiss for Improper
Venue filed in CTD Networks LLC v. Akamai Techs., Inc., No. 6:22-cv-01302-XR (W.D. Tex.
Mar. 24, 2023) (Dkt. 19). Unlike Verizon, Akamai moved to dismiss for improper venue arguing
that (1) it did not reside in the Western District of Texas, and (2) it does not have any place of
business (much less a “regular and established” place of business) in the Western District of Texas.
CTD Networks LLC v. Akamai Techs., Inc., Dkt. 22. Here, Verizon seeks dismissal because (1) it
does not reside in the Western District of Texas, and (2) there are no factual allegations that it is
committing acts of infringement in this District. Dkt. 16.



DM2\17764793.1
              Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 3 of 7




Verizon is a Delaware corporation (id. ¶ 2) and makes vague allegations that Verizon has

committed acts of infringement “directly or through [unnamed] intermediaries” in this District (id.

¶ 5). The sole factual allegation about the location of infringement is found in Arena’s “preliminary

table” attached as Exhibit A to the Complaint. In Exhibit A, the system accused of infringement is

located at the Raymond James stadium in Tampa, Florida – not anywhere in Texas, let alone in

this District.




Dkt. 1-1 at 2 (emphasis in original).

          On April 10, Verizon filed a Motion to Dismiss asserting that venue is improper under 28

U.S.C. §1400(b) and dismissal is warranted under Federal Rule of Civil Procedure 12(b)(3). 2 Dkt.

16. Under Local Rule 7(d)(2), Arena’s response was due April 24, 2023. Instead of responding to

Verizon’s Motion to Dismiss, Arena filed its instant motion for leave to conduct expedited venue

discovery seeking:

          •       Limited, “expedited venue discovery prior to responding to Defendant’s Motion
                  to Transfer” (Dkt. 21 at 1-2) – Verizon did not seek transfer in its motion to
                  dismiss (Akamai did).

          •       Permission to explore “the otherwise unverified factual assertions made by the
                  declarant in support of Defendant’s Motion” and “the veracity of the


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       Verizon also moved for dismissal under Federal Rule of Civil Procedure 12(b)(6) based on
Arena’s failure to state a claim. This second basis for dismissal is not pertinent to Arena’s instant
motion.


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DM2\17764793.1
              Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 4 of 7




                  representations in the Declarant’s declaration” (id. at 2, 5) – Verizon did not
                  submit a declaration (Akamai did).

          •       Discovery about “Defendant’s operations in this District, Defendant’s
                  development and/or sales of the Accused Instrumentalities, and the location and
                  accessibility of documents regarding the Accused Instrumentalities” (id.) – factors
                  relevant to whether there is a regular and established place of business (an issue
                  Akamai disputed), but is not the basis for Verizon’s assertion that venue is
                  improper.

          •       Discovery “regarding the nature of Defendant’s contacts with this District” (id. at
                  4) – a factor relevant to personal jurisdiction, an issue Verizon did not raise.

          •       Discovery about “Defendant’s current and future plans for offices and employees
                  in this District,” “job listings for positions located in Texas,” hiring, property
                  ownership, “marketing or advertising” of products or services in this District,
                  operations in Texas (id. at 4-5) – In re Cray, 871 F.3d 1355 (Fed. Cir. 2017),
                  factors used to determine whether a defendant has a place of business that is
                  regular and established, an issue Verizon did not raise.

In its motion to conduct venue discovery, Arena also seeks an extension of time to respond to

Verizon’s motion to dismiss until after the Court decides its motion because Arena’s “proposed

venue discovery is necessary to facilitate fair and full adjudication of Defendant’s Motion.” Id. at

6. If Arena’s motion is granted, Arena asks that is response be extended to fourteen days after

venue discovery is completed. Id.

II.       ARGUMENT

          A.      Arena’s Request For an Extension of Time to Respond To Verizon’s Motion
                  to Dismiss Violates this Court’s Local Rules and Administrative Procedures.

          As an initial matter, Arena has not timely filed a response to Verizon’s Motion to Dismiss.

On April 10, 2023, Verizon filed its Motion to Dismiss (Dkt. 16), making Arena’s response due

no later than April 24, 2023. Instead of filing a response, on April 24, Plaintiff filed an opposed

motion for discovery and motion for extension of time to respond to Verizon’s Motion to Dismiss.

Dkt. 19. Because Arena waited until the day its response was due to file the opposed extension,




                                                    3
DM2\17764793.1
             Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 5 of 7




the motion did not become ripe until after the dismissal response was due. 3 As Arena’s counsel is

aware, an opposed motion for discovery does not excuse it from having to timely file a response

to a motion. See WirelessWerx IP LLC v. Google LLC, Case No. 6:22-cv-1056-RP, Dkt. 45 at 2

(W.D. Tex. Mar. 27 2023) (denying the same plaintiff’s counsel’s motion to conduct discovery as

untimely). And since Arena did not file a timely response, Verizon respectfully requests the Court

deem its Motion to Dismiss unopposed and grant the relief required therein. See Local Rule CV-

7(d)(2) (“If there is no response filed within the time period prescribed by this rule, the court may

grant the motion as unopposed.”). Arena’s counsel is also aware of this Local Rule and the court’s

authority to grant unopposed motions. See Peter Pedersen v. Zoho Corp., Case No. 6:22-cv-00408-

ADA, Dkt. 22 (W.D. Tex. Jan. 23, 2023) (granting defendant’s motion as unopposed after the

same plaintiff’s counsel’s notice of venue discovery was found not to constitute a sufficient

response under Local Rule CV-7(D)(2)).

          Arena’s knowing failure to follow this Court’s Local Rules, combined with the fact that

the basis for Arena’s request for an extension of time to respond to Verizon’s Motion to Dismiss

is untrue (that its proposed venue discovery is “necessary to facilitate fair and full adjudication”

of Verizon’s Motion to Dismiss), Arena’s requested extension should be denied, Verizon’s Motion

to Dismiss be deemed unopposed, and this case be dismissed.

          B.     Arena’s Requested Relief Will Not Uncover Information Bearing on
                 Verizon’s Motion to Dismiss.

          Arena’s Complaint and Motion do not provide any specific factual allegation that Verizon

has committed any act of infringement in this District as required under 28 U.S.C. § 1400(b), which



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       Arena’s dual request for both an extension and venue discovery in the same pleading is
prohibited by this Court’s local rules and administrative procedures. See W.D. Tex. Loc. R. CV-
7(d); W.D. Tex. Admin. Policies and Procedures 12(e).


                                                 4
DM2\17764793.1
             Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 6 of 7




allows for a patent infringement action to “be brought in the judicial district where the defendant

resides, or where the defendant has committed acts of infringement and has a regular and

established place of business.” See also TC Heartland LLC v. Kraft Foods Grp. Brands LLC, 137

S.Ct. 1514, 1518-1519 (2017). Because the venue discovery Arena seeks is not tied to the issues

raised in Verizon’s motion to dismiss – related to where the acts of infringement occurred – good

cause has not been established. To allow Arena’s proposed discovery would be wasteful and

unnecessary because it is totally irrelevant to Verizon’s Motion. While the Rules may favor broad

discovery, jurisdictional discovery should be denied “where it is impossible that the discovery

‘could . . . add[] any significant facts’ that might bear on the jurisdictional determination.” See

Blitzsafe Tex. LLC v. Mitsubishi Elec. Corp., No. 2:17-cv-00430-JRG, 2019 WL 2210686, at *3

(E.D. Tex. May 22, 2019) (quoting Alpine View Co. v. Atlas Copco AB, 205 F.3d 208, 221 (5th

Cir. 2000)).

          Here, the articulated discovery Arena seeks (e.g., contacts with this District, operations in

this District, development and/or sales of Accused Instrumentalities, location and accessibility of

documents) has nothing to do with where the acts of infringement occurred. Thus, it would be

impossible that Arena’s proposed discovery would add any significant facts bearing on the Court’s

determination of Verizon’s Motion to Dismiss.4

III.      CONCLUSION

          For the foregoing reasons, Verizon respectfully requests the Court deny Arena’s Motion

for Leave to Conduct Expedited Venue Discovery Prior to Responding to Defendant’s Motion to


4
        If the Court grants Arena’s motion, Verizon requests that the discovery be solely related to
location of alleged infringement and that any discovery served count against Arena’s discovery
limits in the litigation. Additionally, while Verizon does not believe a deposition is necessary at
all, should the Court grant Arena a deposition, Verizon requests that any deposition on the limited
issue of where alleged infringement occurs should be limited to one one-hour deposition.


                                                   5
DM2\17764793.1
             Case 6:23-cv-00054-DAE Document 22 Filed 05/08/23 Page 7 of 7




Dismiss for Improper Venue (Dkt. 21). In addition, Verizon respectfully requests the Court deem

Verizon’s Motion to Dismiss (Dkt. 16) unopposed and grant the relief requested therein.


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                                               6
DM2\17764793.1
